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7    ATTORNEYS FOR DEFENDANT CITY OF LOS ANGELES
8
                            UNITED STATES DISTRICT COURT
9
10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                  )
     GRACIELA HERRERA,                            Case No.: CV 16-2719 DSF (SKx)
12                                  )             Honorable Judge: Dale S. Fischer
                                    )             Honorable Magistrate Judge: Steve King
13                    Plaintiff,    )
     vs.                            )
14                                  )
                                    )             ANSWER OF DEFENDANT CITY
15   CITY OF LOS ANGELES; and DOES ))             OF LOS ANGELES TO
     1-10, inclusive,               )             PLAINTIFF’S COMPLAINT FOR
16                                  )             DAMAGES AND; DEMAD FOR
                      Defendants.                 JURY TRIAL
                                    )
17                                  )
                                    )
18                                  )
                                    )
19
20         COMES NOW DEFENDANT CITY OF LOS ANGELES answering
21
     Plaintiff’s Complaint in the above-entitled action, for itself and for no other party,
22
23   hereby admits, denies, and alleges as follows:
24         1.     Answering paragraph 1 of the Complaint, no factual allegations are made
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     therein, and on that basis the paragraph goes unanswered.
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1          2.     Answering paragraph 2 of the Complaint, defendant lacks sufficient
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     information and belief upon which to answer the allegations contained therein, and on
3
4    that basis denies the allegations.
5          3.     Answering paragraph 3 of the Complaint, no factual allegations are made
6
     therein, and on that basis the paragraph goes unanswered.
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8          4.     Answering paragraph 4 of the Complaint, no factual allegations are made
9
     therein, and on that basis the paragraph goes unanswered.
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11         5.     Answering paragraph 5 of the Complaint, no factual allegations are made

12   therein, and on that basis the paragraph goes unanswered.
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           6.     Answering paragraph 6 of the Complaint, no factual allegations are made
14
15   therein, and on that basis the paragraph goes unanswered.
16
           7.     Answering paragraph 7 of the Complaint, no factual allegations are made
17
18   therein, and on that basis the paragraph goes unanswered.

19         8.     Answering paragraph 8 of the Complaint, no factual allegations are made
20
     therein, and on that basis the paragraph goes unanswered.
21
22         9.     Answering paragraph 9 of the Complaint, no factual allegations are made
23   therein, and on that basis the paragraph goes unanswered.
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1          10.    Answering paragraph 10 of the Complaint, defendant lacks sufficient
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     information and belief upon which to answer the allegations contained therein, and on
3
4    that basis denies the allegations.
5          11.    Answering paragraph 11 of the Complaint, defendant lacks sufficient
6
     information and belief upon which to answer the allegations contained therein, and on
7
8    that basis denies the allegations.
9
           12.    Answering paragraph 12 of the Complaint, defendant admits the
10
11   allegations contained therein.

12         13.    Answering paragraph 13 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         14.    Answering paragraph 14 of the Complaint, which incorporates by
16
     reference the allegations of other paragraphs of the pleading, defendant to the same
17
18   extent incorporates by reference the answers provided herein to those paragraphs.

19         15.    Answering paragraph 15 of the Complaint, defendant lacks sufficient
20
     information and belief upon which to answer the allegations contained therein, and on
21
22   that basis denies the allegations.
23         16.    Answering paragraph 16 of the Complaint, defendant lacks sufficient
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     information and belief upon which to answer the allegations contained therein, and on
25
26   that basis denies the allegations.
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           17.    Answering paragraph 17 of the Complaint, defendant denies the
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1    allegations contained therein.
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4          18.    Answering paragraph 18 of the Complaint, defendant lacks sufficient
5    information and belief upon which to answer the allegations contained therein, and on
6
     that basis denies the allegations.
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8          19.    Answering paragraph 19 of the Complaint, defendant lacks sufficient
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     information and belief upon which to answer the allegations contained therein, and on
10
11   that basis denies the allegations.

12         20.    Answering paragraph 20 of the Complaint, defendant denies the
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     allegations contained therein.
14
15         21.    Answering paragraph 21of the Complaint, defendant denies the
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     allegations contained therein.
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18         22.    Answering paragraph 22 of the Complaint, defendant denies the

19   allegations contained therein.
20
           23.    Answering paragraph 23 of the Complaint, no factual allegations are
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22   made therein, and on that basis the paragraph goes unanswered.
23         24.    Answering paragraph 24 of the Complaint, no factual allegations are
24
     made therein, and on that basis the paragraph goes unanswered.
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26         25.    Answering paragraph 25 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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1          26.    Answering paragraph 26 of the Complaint, which incorporates by
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     reference the allegations of other paragraphs of the pleading, defendant to the same
3
4    extent incorporates by reference the answers provided herein to those paragraphs.
5          27.    Answering paragraph 27 of the Complaint, no factual allegations are
6
     made therein, and on that basis the paragraph goes unanswered.
7
8          28.    Answering paragraph 28 of the Complaint, no factual allegations are
9
     made therein, and on that basis the paragraph goes unanswered.
10
11         29.    Answering paragraph 29 of the Complaint, defendant denies the

12   allegations contained therein.
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           30.    Answering paragraph 30 of the Complaint, defendant denies the
14
15   allegations contained therein.
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           31.    Answering paragraph 31 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         32.    Answering paragraph 32 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         33.    Answering paragraph 33 of the Complaint, which incorporates by
23   reference the allegations of other paragraphs of the pleading, defendant to the same
24
     extent incorporates by reference the answers provided herein to those paragraphs.
25
26         34.    Answering paragraph 34 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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1          35.    Answering paragraph 35 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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4          36.    Answering paragraph 36 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           37.    Answering paragraph 37 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
           38.    Answering paragraph 38 of the Complaint, defendant denies the
10
11   allegations contained therein.

12         39.    Answering paragraph 39 of the Complaint, defendant denies the
13
     allegations contained therein.
14
15         40.    Answering paragraph 40 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         41.    Answering paragraph 41 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           42.    Answering paragraph 42 of the Complaint, which incorporates by
21
22   reference the allegations of other paragraphs of the pleading, defendant to the same
23   extent incorporates by reference the answers provided herein to those paragraphs.
24
           43.    Answering paragraph 43 of the Complaint, no factual allegations are
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26   made therein, and on that basis the paragraph goes unanswered.
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1          44.   Answering paragraph 44 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
3
4          45.   Answering paragraph 45 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           46.   Answering paragraph 46 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
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           47.   Answering paragraph 47 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         48.   Answering paragraph 48 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         49.   Answering paragraph 49 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
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18         50.   Answering paragraph 50 of the Complaint, no factual allegations are

19   made therein, and on that basis the paragraph goes unanswered.
20
           51.   Answering paragraph 51 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23         52.   Answering paragraph 52 of the Complaint, no factual allegations are
24
     made therein, and on that basis the paragraph goes unanswered.
25
26         53.   Answering paragraph 53 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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1          54.    Answering paragraph 54 of the Complaint, which incorporates by
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     reference the allegations of other paragraphs of the pleading, defendant to the same
3
4    extent incorporates by reference the answers provided herein to those paragraphs.
5          55.    Answering paragraph 55 of the Complaint, defendant denies the
6
     allegations contained therein.
7
8          56.    Answering paragraph 56 of the Complaint, defendant denies the
9
     allegations contained therein.
10
11         57.    Answering paragraph 57 of the Complaint, defendant denies the

12   allegations contained therein.
13
           58.    Answering paragraph 58 of the Complaint, defendant lacks sufficient
14
15   information and belief upon which to answer the allegations contained therein, and on
16
     that basis denies the allegations.
17
18         59.    Answering paragraph 59 and subparts (a-g) and (f sic)of the Complaint,

19   defendant denies the allegations contained therein.
20
           60.    Answering paragraph 60 of the Complaint, no factual allegations are
21
22   made therein, and on that basis the paragraph goes unanswered.
23         61.    Answering paragraph 61 of the Complaint, no factual allegations are
24
     made therein, and on that basis the paragraph goes unanswered.
25
26         62.    Answering paragraph 62 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
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1          63.    Answering paragraph 63 of the Complaint, no factual allegations are
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     made therein, and on that basis the paragraph goes unanswered.
3
4          64.    Answering paragraph 64 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           65.    Answering paragraph 65 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
           66.    Answering paragraph 66 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         67.    Answering paragraph 67 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15         68.    Answering paragraph 68 of the Complaint, no factual allegations are
16
     made therein, and on that basis the paragraph goes unanswered.
17
18         69.    Answering paragraph 69 of the Complaint, which incorporates by

19   reference the allegations of other paragraphs of the pleading, defendant to the same
20
     extent incorporates by reference the answers provided herein to those paragraphs.
21
22         70.    Answering paragraph 70 of the Complaint, defendant denies the
23   allegations contained therein.
24
           71.    Answering paragraph 71 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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1          72.    Answering paragraph 72 of the Complaint, no factual allegations are
2
     made therein, and on that basis the paragraph goes unanswered.
3
4          73.    Answering paragraph 73 of the Complaint, defendant denies the
5    allegations contained therein.
6
           74.    Answering paragraph 74 of the Complaint, no factual allegations are
7
8    made therein, and on that basis the paragraph goes unanswered.
9
           75.    Answering paragraph 75 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         76.    Answering paragraph 76 of the Complaint, which incorporates by
13
     reference the allegations of other paragraphs of the pleading, defendant to the same
14
15   extent incorporates by reference the answers provided herein to those paragraphs.
16
           77.    Answering paragraph 77 and subparts (a-g) of the Complaint, defendant
17
18   denies the allegations contained therein.

19          78. Answering paragraph 78 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         79.    Answering paragraph 79 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           80.    Answering paragraph 80 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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1          81.    Answering paragraph 81 of the Complaint, no factual allegations are
2
     made therein, and on that basis the paragraph goes unanswered.
3
4          82.    Answering paragraph 82 of the Complaint, which incorporates by
5    reference the allegations of other paragraphs of the pleading, defendant to the same
6
     extent incorporates by reference the answers provided herein to those paragraphs.
7
8          83.    Answering paragraph 83 of the Complaint, no factual allegations are
9
     made therein, and on that basis the paragraph goes unanswered.
10
11         84.    Answering paragraph 84 of the Complaint, no factual allegations are

12   made therein, and on that basis the paragraph goes unanswered.
13
           85.    Answering paragraph 85 of the Complaint, defendant denies the
14
15   allegations contained therein.
16
           86.    Answering paragraph 86 of the Complaint, no factual allegations are
17
18   made therein, and on that basis the paragraph goes unanswered.

19         87.    Answering paragraph 87 of the Complaint, no factual allegations are
20
     made therein, and on that basis the paragraph goes unanswered.
21
22         88.    Answering paragraph 88 of the Complaint, no factual allegations are
23   made therein, and on that basis the paragraph goes unanswered.
24
           89.    Answering paragraph 89 of the Complaint, no factual allegations are
25
26   made therein, and on that basis the paragraph goes unanswered.
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1          90.    Answering paragraph 90 of the Complaint, no factual allegations are
2
     made therein, and on that basis the paragraph goes unanswered.
3
4          91.    Answering paragraph 91 of the Complaint, no factual allegations are
5    made therein, and on that basis the paragraph goes unanswered.
6
           92.    Answering paragraph 92 of the Complaint, defendant denies the
7
8    allegations contained therein.
9
           93.    Answering paragraph 93 of the Complaint, no factual allegations are
10
11   made therein, and on that basis the paragraph goes unanswered.

12         94.    Answering paragraph 94 of the Complaint, no factual allegations are
13
     made therein, and on that basis the paragraph goes unanswered.
14
15                               AFFIRMATIVE DEFENSES
16
           As a separate and distinct affirmative defenses, defendant alleges each of the
17
18   following:

19         95. The damages alleged were directly and proximately caused and contributed
20
     to by the negligence of decedent, and the extent of damages sustained, if any, should
21
22   be reduced in proportion to the amount of said negligence.
23        96. The damages alleged were directly and proximately caused and contributed
24
     to by the negligence of other persons, and the extent of damages sustained, if any,
25
26   should be reduced in proportion to the amount of said negligence.
27
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1         97. The force used against decedent, if any, was caused and necessitated by the
2
     actions of decedent, and was reasonable and necessary for self-defense
3
4         98. The force used against decedent, if any, was caused and necessitated by the
5    actions of decedent, and was reasonable and necessary for the defense of others.
6
          99. The claims are barred by the statute of limitations set forth in California Code
7
8    of Civil Procedure section 340(3).
9
         100. The action should be abated in that all of the heirs of decedent have not been
10
11   joined as parties.

12        101. The action is barred for lack of standing to sue.
13
          102. As to the federal claims and theories of recovery, the answering defendant
14
15   is protected from liability under the doctrine of qualified immunity, because
16
     defendant’s conduct did not violate clearly established statutory or constitutional rights
17
18   of which a reasonable person would have known.

19        103. Defendant City of Los Angeles and all defendants sued in their official
20
     capacities are immune from the imposition of punitive damages.
21
22       104. Defendant is immune from liability pursuant to the provisions of each of the
23   following California statutes, each of which is set forth as a separate and distinct
24
     affirmative defense:
25
26   Government Code §§ 815.2, 815.6, 818, 820.8, 834, 834(a), 835, 835(a) and 845.6.
27
     Penal Code 836 and 836.5.
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1            105. The state claims are barred for plaintiff's failure to comply with the
2
     provisions of the California Tort Claims Act, Government Code § 910 et seq.
3
4      WHEREFORE, Defendant prays for judgment as follows:
5            1.    That Plaintiff takes nothing by this action;
6
             2.    That the action be dismissed;
7
8            3.    That Defendant be awarded costs of suit;
9
             4.    That Defendant be awarded other and further relief as the Court may
10
11   deem just and proper, including an award of attorney's fees pursuant to 42 U.S.C. §

12   1988.
13
     DATE: May 12, 2016                MICHAEL N. FEUER, CITY ATTORNEY
14                                     THOMAS H. PETERS, CHIEF ASST. CITY ATTORNEY
15                                     CORY M. BRENTE, SUPER. ASSIST CITY ATTORNEY

16                                     BY:__/S/ -   Craig J. Miller
                                       CRAIG J. MILLER, DEPUTY CITY ATTORNEY
17
                                       ATTORNEYS FOR DEFENDANT CITY OF LOS
18                                     ANGELES

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1                             DEMAND FOR JURY TRIAL
2
          Defendants hereby demand and request a trial by jury in this matter.
3
4
5    DATE: May 12, 2016            MICHAEL N. FEUER, CITY ATTORNEY
6                                  THOMAS H. PETERS, CHIEF ASST. CITY ATTORNEY
                                   CORY M. BRENTE, SUPER. ASSIST CITY ATTORNEY
7
8
                                   BY:__/S/ -   Craig J. Miller
                                   CRAIG J. MILLER, DEPUTY CITY ATTORNEY
9                                  ATTORNEYS FOR DEFENDANT CITY OF LOS
                                   ANGELES
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